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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
                                  CENTRAL DIVISION

____________________________________
In re:                               )
JOHN A. YELLIG, III, & PATRICIA A.  )
YELLIG                               )                 Case No. 17-41278
                                    )                  Chapter 13
JOHN A. YELLIG, III,                )
       Plaintiff,                    )                 Adv. Proc. No. 17-04040
                                    )
v.                                  )
                                    )
VETERANS INC.,                      )
       Defendant.                    )
____________________________________)

       JOINT MOTION TO RESCHEDULE OR CANCEL PRE-TRIAL HEARING

       NOW COME the Parties in the above-entitled action and move this Honorable Court to

reschedule or cancel the pre-trial hearing currently scheduled for May 15, 2018. As grounds

therefor, the Parties state as follows as follows:

   1. The initial complaint was filed July 22, 2017;

   2. On or about February 6, 2018, this Honorable Court allowed the Parties joint request to

       reschedule the pre-trial hearing to May 15, 2018 to permit the Parties additional time to

       conduct discovery and explore resolution of this matter.

   3. The Parties have since reached a mutually agreeable and satisfactory resolution of this

       matter. Counsel for Defendant Veterans, Inc. has drafted and Plaintiff has executed a

       settlement agreement contemplating the resolution of this and all other disputes and

       controversies between the Parties. The settlement agreement acknowledges that Veterans,

       Inc. disputes liability in this matter and the settlement is not an admission of liability.
